        Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 1 of 10




                 IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA



                                               Criminal No.: 1: 22-cr-00354-RCL-
                                               1 and 2
    UNITED STATES OF AMERICA,
                      -v-                       DEFENDANTS FIRST SET OF
                                                    PROPOSED JURY
      RICHARD SLAUGHTER, and
                                                     INSTRUCTIONS
          CADEN GOTTFRIED,
                            Defendants.




DEFENDANTS FIRST SET OF PROPOSED JURY INSTRUCTIONS

Obstructing an Official Proceeding (18 U.S.C. § 1512(c)(2))

      Count 1 of the indictment charges the defendant with corruptly obstructing

an official proceeding, which is a violation of the law. Count 1 also charges the

defendant with attempt to obstruct or impede an official proceeding and aiding and

abetting others to commit that offense. The Court will first explain the elements of

the substantive offense, along with its associated definitions. Then, the Court will

explain how to determine whether the defendant attempted the offense and whether

the defendant aided and abetted the offense.

      Elements

      In order to find the defendant guilty of corruptly obstructing an official
                                          1
        Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 2 of 10




proceeding, you must find that the government proved each of the following six

elements beyond a reasonable doubt:

      First, the defendant attempted to or did obstruct or impede an official

proceeding.

      Second, the defendant committed acts personally and individually that

directly caused the obstruction or impeding of an official proceeding.

      Third, the defendant acted with the intent to obstruct or impede an official

proceeding which is currently occurring and which the defendant reasonably

believed was aware of the defendant’s actions.

      Fourth, the defendant acted knowingly, with awareness that the natural and

probable effect of his conduct would be to obstruct or impede the official

proceeding.

      Fifth, the defendant acted corruptly.

      Sixth, the defendant’s conduct was not protected speech, expression,

advocacy or petitioning for redress of grievances under the First Amendment.

      Definitions The term “official proceeding” includes a proceeding before the

Congress. The official proceeding must be pending or about to be instituted at the

time of the offense. The government must prove beyond a reasonable doubt that

disrupting the official proceeding was reasonably foreseeable to the defendant.

      A person acts “knowingly” if he realizes what he is doing and is aware of the

nature of his conduct, and does not act through ignorance, mistake, or accident. In
                                         2
         Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 3 of 10




deciding whether the defendant acted knowingly, you may consider all of the

evidence, including what the defendant did or said.

       To act “corruptly,” the defendant must knowingly use unlawful means or act

with an unlawful purpose, or both. The defendant must also act with

“consciousness of wrongdoing.” “Consciousness of wrongdoing” means with an

understanding or awareness that what the person is doing is wrong.

       To prove that the Defendant acted “corruptly,” the Government must prove

more than the Defendant acted “unlawfully.” The Government must prove that the

Defendant used unlawful and deceptive means with the intent to secure an unlawful

substantial benefit either for one's self or for another. 1

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        The definition provided under United States v. Aguilar, 515 U.S. 593, 616 (1995) (Scalia,
J., concurring in part) (emphases added) for 18 U.S.C. 1503 must apply:
          Finally, respondent posits that the phrase "'corruptly ... endeavors to influence,
          obstruct, or impede' may be unconstitutionally vague," in that it fails to provide
          sufficient notice that lying to potential grand jury witnesses in an effort to thwart
          a grand jury investigation is proscribed. Brief for Respondent 22, n. 13. Statutory
          language need not be colloquial, however, and the term "corruptly" in criminal
          laws has a longstanding and well-accepted meaning. It denotes "[a]n act done
          with an intent to give some advantage inconsistent with official duty and the
          rights of others .... It includes bribery but is more comprehensive; because an
          act may be corruptly done though the advantage to be derived from it be not
          offered by another." United States v. Ogle, 613 F.2d 233, 238 (CAlO) (internal
          quotation marks omitted), cert. denied, 449 U. S. 825 (1980). See also
          Ballentine's Law Dictionary 276 (3d ed. 1969); Black's Law Dictionary 345 (6th
          ed. 1990). As the District Court here instructed the jury:

               "An act is done corruptly if it's done voluntarily and intentionally to
               bring about either an unlawful result or a lawful result by some
               unlawful method, with a hope or expectation of either financial gain
               or other benefit to oneself or a benefit of another person." App. 117.

         “7 Black’s Law Dic�onary deﬁnes ‘corruptly’ as used in criminal-law statutes as
‘indicates a wrongful desire for pecuniary gain or other advantage.’ Black’s Law Dic�onary 371
                                                  3
         Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 4 of 10




       Not all attempts to obstruct or impede an official proceeding involve acting

corruptly. For example, a witness in a court proceeding may refuse to testify by

invoking his constitutional privilege against self-incrimination, thereby obstructing

or impeding the proceeding, but he does not act corruptly. In contrast, an

individual who obstructs or impedes a court proceeding by bribing a witness to

refuse to testify in that proceeding, or by engaging in other independently unlawful

conduct, does act corruptly. A person does not act corruptly where he reasonably

believes his expressive conduct is protected by the First Amendment.




(8th ed. 2004).” United States of America vs. Samuel Saldana, U.S. Court of Appeals for the Fi�h
Circuit, Case No. 04-50527, Opinion, August 18, 2005 , footnote 7.
       Marinello v. United States, 138 Ct. 1101, 1114 (2018) is highly instruc�ve:


              The diﬀerence between these mens rea requirements is signiﬁcant.
              While "willfully" requires proof only "that the law imposed a duty on
              the defendant, that the defendant knew of this duty, and that he
              voluntarily and inten�onally violated that duty," Cheek v. United
              States, 498 U.S. 192, 201, 111 S.Ct. 604, 112 L.Ed.2d 617 (1991),
              "corruptly" requires proof that the defendant "act[ed] with an intent
              to procure an unlawful beneﬁt either for [himself] or for some other
              person," United States v. Floyd, 740 F.3d 22, 31 (C.A.1 2014)
              (collec�ng cases); see also Black's Law Dic�onary 414 (rev. 4th ed.
              1951) ("corruptly" "generally imports a wrongful design to acquire
              some pecuniary or other advantage"). In other words, "corruptly"
              requires proof that the defendant not only knew he was obtaining an
              "unlawful beneﬁt" but that his "objec�ve" or "purpose" was to
              obtain that unlawful beneﬁt. See 21 Am.Jur.2d, Criminal Law § 114
              (2016) (explaining that speciﬁc intent requires both knowledge and
              purpose).
                                                4
            Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 5 of 10




Entering and Remaining in a Restricted Building or Grounds

Count 1 of the information charges the defendant with entering or remaining in a restricted building

or grounds. The Government must prove beyond a reasonable doubt that:

            1. The defendant entered or remained in a restricted building without lawful

               authorization to do so; and

            2. He acted willfully and knowingly.

[Note: defendant asserts that ‘willfully,’ or something like willfully, is the standard required. 18

U.S.C. § 1752 is a ‘trespassing’ corollary—equivalent to trespass statutes in every state and the

common law over many centuries. This vast landscape of law requires willfullness on the part of

a defendant. The law would be preposterous otherwise, as the government could convict people

for simply knowing they are standing or sitting somewhere, without the person having any

knowledge he is doing something wrong or without even being informed of the restricted nature

of a place.]

The term "restricted building" means any posted, cordoned off, or otherwise fenced or barricaded

restricted area of a building where a person protected by the Secret Service is or will be temporarily

visiting.

[Explanation: “restricted” should not be defined as “restricted.” This concept cannot be

open-ended.       It requires tangible, real-world barricades, signage, warnings, walls of

separation, or fences.]

The term "person protected by the Secret Service" includes the Vice President and the immediate

family of the Vice President.

        A person acts "knowingly" if she realizes what she is doing and is aware of the nature of

his conduct, and does not act through ignorance, mistake, or accident. In deciding whether

                                                   5
           Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 6 of 10




defendants knowingly entered or remained in a restricted building, you may consider all of the

evidence, including what defendants did, said or perceived. A person who enters or remains in a

restricted area with a good faith belief that she is entering or remaining with lawful authority is not

guilty of this crime.

[reinsert definition of “willfully” here. A person acts "willfully" if she acts with the intent to do

something that the law forbids -that is, to disobey or disregard the law. . . . ]



Disorderly Conduct in a Restricted Building or Grounds

Count ??? charges the defendant with disorderly or disruptive conduct in a restricted building or

grounds. The Government must prove beyond a reasonable doubt that:

           1. The defendant engaged in disorderly or disruptive conduct;

           2. He did so knowingly and with the intent to impede or disrupt the orderly conduct of

              Government business or official functions;

           3. His conduct was in a restricted building or grounds; and

           4. His conduct in fact impeded or disrupted the orderly conduct of Government business

              or official functions.

"Disorderly conduct" occurs when a person acts in such a manner as to cause another person to be

in reasonable fear that a person or property in a person's immediate possession is likely to be

harmed or taken, uses language likely to produce violence on the part of others, or language that

is unreasonably loud, abusive, and disruptive under the circumstances. It is behavior that tends to

disturb the public peace, offend public morals, or undermine public safety.

“Disruptive conduct” is a disturbance that interrupts an event, activity, or the normal course of a

process.




                                                  6
         Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 7 of 10




The term "restricted building" has the same meaning provided in Count I. The term ''knowingly"

has the same meaning provided above.




[Note the government seeks to insert ‘aiding and abetting’ and ‘attempt’ into the instructions.

These are not generally recognized as inchoate aspects of misdemeanors such as trespassing. Such

misdemeanors require very little threshold of preplanning or high-level states of mind;

consequently, adding “attempt” or “aiding and abetting” to a trespass accusation can effectively

convert the allegation into something like a strict liability offense. It would be preposterous if

someone could be convicted of ‘aiding and abetting’ another person’s trespass by, for example,

driving them to the scene of a trespass, or being a “getaway driver” for a trespass. And an allegation

of “attempted trespass” becomes almost comedic in its possible scope: leaning on a fence? Moving

toward a boundary without crossing it?



Proposed Instruction No. __
First Amendment Rights
       Every person has the right to petition his or her government, and express
ideas and bring their concerns to their legislators. Citizens also have the right to
peaceably assemble with others to petition their government. And under the
First Amendment, a person has a constitutional right to make violent or anti-
government statements and threats and may call upon others to act violently,
except in rare circumstances where the speaker knows such violent threats have
an immediate likelihood of getting others to immediately carry out such
violence and reasonably knows that others have the ability and are likely to
carry out such threats.
      These First Amendment rights apply to every count in the indictment. If
you find that the defendant’s conduct was First Amendment protected speech,
expression, or advocacy, you must find the defendant not guilty.
      The United States Capitol is one of America’s largest public buildings. It is
the headquarters of the Legislative Branch of government, where the American
people have broad rights to petition, advocate, protest, and meet with members

                                                  7
              Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 8 of 10



of Congress and staff in order to promote or prevent the advancement of
legislation or other congressional acts.

                                               6.10 MERE PRESENCE 2

Mere presence at the scene of a crime or mere knowledge that a crime is being
committed is not sufficient to establish that the defendant committed any of the
crimes charged in the indictment. The defendant must be a participant and not
merely a knowing spectator. The defendant’s presence may be considered by the
jury along with other evidence in the case.


Proposed Instruction No. __
Guilt Must be individualized


The determination of guilt must be an individualized matter. Defendant Kastner
cannot be convicted of crimes by a mob or group, unless you find beyond a
reasonable doubt that Kastner himself committed such crimes.
The right to associate does not lose all constitutional protection merely because
some members of the group may have participated in conduct or advocated
doctrine that itself is not protected.
N.A.A.C.P. v. Claiborne Hardware Co., 458 U.S. 886, 908 (1992); Scales v. United
States, 367 U.S. 203, 229 (1961); Carr v. District of Columbia, 561 F. Supp. 2d 7, 13
(D.D.C. 2008). See also Barham v. Ramsey, 434 F.3d 565, 573 (D.C. Cir. 2006).
“Where the standard is probable cause, a search or seizure of a person must be
supported by probable cause particularized with respect to that person. This
requirement cannot be undercut or avoided by simply pointing to the fact that
coincidentally there exists probable cause to search or seize another ....”
Limiting Instruction regarding signs and barricades unseen by the defendants.
           This instruction should be given to the jury immediately after the

Government puts on evidence (likely through a Capitol police officer testifying



2
    From U.S. 9th Circuit Pattern Jury Instructions.
                                                       8
        Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 9 of 10




about security measures placed at the Capitol grounds on Jan. 6) of barriers, signs,

fences or announcements not seen directly by Slaughter and Gottfried:

             You have seen evidence of certain signs, fencing, barricades or
      announcements placed at or near the Capitol on Jan. 6. This evidence
      was admitted solely as evidence of facts described in [this witness’s]
      testimony. You are instructed to recognize that these features may or
      may not have been viewed or viewable by the defendant. You are
      further instructed that the defendants’ knowledge of signs, markings,
      fencing, announcements or barricades must be proven beyond a
      reasonable doubt, from defendants’ perspective rather than the
      perspective of anyone else.




Dated: November 1, 2023                                        Respectfully Submitted,

                                                                         /s/ John M. Pierce
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                                          9
        Case 1:22-cr-00354-RCL Document 84 Filed 11/01/23 Page 10 of 10



                                   CERTIFICATE OF SERVICE

       I, John M. Pierce, hereby certify that on this day, November 1, 2023, I caused a copy of the

foregoing document to be served on all counsel through the Court’s CM/ECF case filing system.



                                                /s/ John M. Pierce
                                                John M. Pierce




                                                   10
